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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


    BRIAN HUDDLESTON,

             Plaintiff,

    vs.
                                                   Case No. 4:20-cv-447-ALM
    FEDERAL BUREAU OF
    INVESTIGATION and UNITED
    STATES DEPARTMENT OF
    JUSTICE

            Defendant



                                           ORDER
.
          The Plaintiff’s Unopposed Motion for Stay (Dkt. #124) is now before the Court.

    The motion is GRANTED, and the stay of this case is continued until August 18, 2023.

          IT IS SO ORDERED.
           SIGNED this 18th day of July, 2023.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE
